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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

WESTERN-SOUTHERN LIFE ASSURANCE
COMPANY,
CASE NO. 20-cv-24468-RNS
Plaintiff,
vs.

ELMA GRACE PEARSON, LEON GLENN
PEARSON, ERNESTINE PEARSON and
GLORIA PRESCOTT,

Defendants.
f

JOINT STIPLATION OF DISMISSAL

Pursuant to Rule 41(a)(A)Gi) of the Federal Rules of Civil Procedure, Defendant, ELMA
GRACE PEARSON, by and through her attorney, and Defendants, LEON GLENN PEARSON
and ERNESTINE PEARSON, respectfully and jointly submit this Stipulation of Dismissal of this
action with prejudice as to all claims, causes of action, and parties, with each party bearing his/her
own attorney’s fees and costs.

The effectiveness of this stipulation of dismissal is conditioned upon the Court’s entry of
an order retaining jurisdiction to enforce the terms of the parties’ settlement agreement.

Dated: August 5, 2021. Respectfully submitted,
/s/Glenn R. Miller
GLENN R. MILLER, ESQ.
GLENN RICARDO MILLER, LLC

Attorney for Defendant/ELMA GRACE PEARSON

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/s/Leon Glenn Pearson (with permission 08/05/21)
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/s/Ernestine Pearson (with permission 08/05/21)
ERNESTINE PEARSON

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on August 12, 2021, I electronically filed the foregoing
document with the Clerk of Court using its CM/ECF system and forwarded copies of the
foregoing document to: D. Brian O’Dell, Esq., BRADLEY ARANT BOULT CUMMINGS,
LLP, Attorneys for Stakeholder/Plaintiff, 1819 5% Avenue North, Birmingham, Alabama 35203,
(205) 521-8000, Email: bodell@bradley.com :Leon Glenn Pearson, Defendant, 6820 N.W. 13%
Avenue, Miami, FL 33147, Email: leonpearson2424@gmail.com ; Emestine Pearson, Defendant,
6 Drury Lane, Florence, South Carolina 29506, Email: ernestinepearson3 10@yahoo.com ; and
Gloria Prescott, Defendant, 2603 Memory Lane, Douglasville, Georgia 30135.

/s/Glenn R. Miller
GLENN R. MILLER, ESQ.

